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           EXHIBIT J
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Message
From:         Dave Sklar [dsklar@certifieddocumentcenter.com]
Sent:         4/8/2016 4:05:00 PM
To:           ken@kenlawson.com; Tom Chou [tom@tomchou.com]; kevin_bd70@yahoo.com; Sean Cowell
              [sean@monsterloans.com]
CC:           Robert Hoose [RHoose@certifieddocumentcentercom]
Subject:       March 2016 Investor Update


Good afternoon gentlemen,


We finished the month of March with 994. Most of the challenges we faced over the last 2 months have been overcome
successfully. To recap, those issues were

1)      Transitioning our CRM from Leadtrac to Debt Pay Pro for the sake of far greater transparency in reporting
functionality, as well as being able to run multiple verticals on this platform.

Results) We have had some bugs as expected, while proactively working directly with their support department as they
come up. This system is working as we thought as far as reporting definitively.

2)      Transitioned from our original phone system from Kumo/BCS to Freevoice. We have had issues with Kumo from
almost day one and decide to cut ties. Brad is in contact with them as they feel we have breached our contract. We
obviously feel this is not the case.

Results) As expected, we had some challenging days as we were making the transition. We actually lost roughly 1 A' days
of production due to the issues. We have been working with them daily and are confident this was the correct choice.
We are continually working to increase efficiencies with both our phone system as well as the CRM.

3)     Retention manager has been put back into place and the this has decreased the rate by roughly 15%,so the
numbers are definitely improving with this position.

4)       We have ironed out a new deal with Experian as far as our Data purchasing is concerned. We have cut the cost
per record from .18 cents to .09 cents and have realized that this data is performing with greater response percentages
as well as closing ratios.

We are continuing to dig through the data and always searching for ways to increase production, while cutting expenses.

Again, we feel confident with 30- 35 being the accurate number of advisors on the floor at any given time, and have
implemented a timeline for their dismissal if the production is not there.

Our goal for April is 1100, and we are currently on pace to do that. We have made our first disbursement this month and
are looking forward to that number only growing. We are also excited about all the coals in the fire now and the plans
for the near future that we are all looking forward to building and growing. Have a great weekend gentlemen, Aloha!




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